     Case 16-40120         Doc 1714-1       Filed 09/26/18 Entered 09/26/18 15:17:37        Chapter 11
                                            Final Decree Pg 1 of 1

                              UNITED STATES BANKRUPTCY COURT
                                     Eastern District of Missouri
                                 Thomas F. Eagleton U.S. Courthouse
                                 111 South Tenth Street, Fourth Floor
                                        St. Louis, MO 63102


IN RE:
CASE NO.: 16−40120
CHAPTER: 11
DEBTOR(s):
Arch Coal Inc − See below for reported alias information

                                            FINAL DECREE


 A review of the Court file has indicated that the estate has been fully administered;

 IT IS FURTHER ORDERED that case is closed.


Dated: 9/26/18


                                                                                         U.S.Bankruptcy Judge

Reported Alias Information:
Arch Coal Inc −
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